
*136OPINION.
Morris:
The contributions claimed by the taxpayer as deductible are not.ordinary and necessary expenses paid in carrying on the business, within the meaning of section 234 (a) (1) of the Revenue Act of 1918. Appeal of Woolf &amp; Reynolds, Inc., 1 B. T. A. 1092; Appeal of The Thomas Shoe Co., 1 B. T. A. 124.
The taxpayer admits that 2per cent is a reasonable depreciation rate on the building, but claims a composite rate of 3 per cent on “ building assets ” on a March 1,1913, value of $261,101.92. No competent evidence was introduced to sustain that value or to show their useful life. As the evidence was also insufficient as to the value and useful life of the other assets upon which additional depreciation is claimed, the values and depreciation rates used by the Commissioner must be approved.
